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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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                         Exhibit E Page 126 of 251
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                         Exhibit E Page 134 of 251
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Case:17-03283-LTS Doc#:6809-5 Filed:05/02/19 Entered:05/02/19 04:23:47   Desc:
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